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IN THE CHANCERY COURT OF SHELBY COUNTY, TENNESSEE
FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS

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GERALD GREEN, * APR 23 2019
*
DONNA L. S$
Plaintiff, * TIME: (708 w Byes 5
vy. * No. CU- [4-054 -|
SMITH & NEPHEW, INC., *
* Jury Demand
Defendant. *

 

COMPLAINT FOR AGE DISCRIMINATION IN EMPLOYMENT

 

Plaintiff Gerald Green for his complaint against the Defendant Smith & Nephew, Inc.
states as follows:
L.
This cause of action is instituted pursuant to the provisions of the Tennessee Human Rights
Act (THRA), T.C.A. §§ 4-21-101 et seq., which protect against and secure redress from age discrim-
ination in employment.
Il.
The Plaintiff, Gerald Green, is a resident of Olive Branch, Mississippi, and was age fifty-
two (52) at the time of the events complained of herein.

III.

The Defendant, Smith & Nephew, Inc., is a foreign for-profit company doing business in
Shelby County, Tennessee, with its principal place of business at 1450 East Brooks Road, Memphis,

Tennessee.
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IV.
The wrongful acts complained of herein took place within the jurisdiction of this
Court. At all relevant times complained of herein the Defendant was an employer
as contemplated by T.C.A. § 4-21-102(4).

V.

On April 23, 2018, Plaintiff was notified that he had been selected for termination from his
position as a Quality Technician at the Defendant Memphis, Tennessee, operation, effective May
4, 2018, as part of a Reduction in Force (RIF).

VI.

At the time Plaintiff had worked in the Quality Technician position for about twelve years.

Further, his performance and attendance in that position had been very good.
VIL.

Prior to Plaintiff's termination, he had provided approximately thirty-two years of loyal and
diligent service to the Defendant.

VUE.

Plaintiff was selected for termination during the RIF while younger, less qualified emloyees
in the same position were retained.

IX.
There were no performance issues that would justify selecting the Plaintiff for termination

during the RIF instead of one of the younger Quality Technicians, who had less years in the position,
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as well as less years with the company, than he had.
X.

After the Plaintiff was told he was selected for termination during the RIF, he asked whether
he could be placed into some other position at the company because he had performed a number of
other jobs at the company during his many years working there and because he was only a few years
away from being able to receive a full pension at age fifty-five; however, he was told that was not
an option.

XI.

Another employee in the Quality Technician position, like the Plaintiff held, was also
selected for termination during the RIF; however, this employee, who was in his late twenties, was
given another Quality Technician position at the company the next day.

XI.

Further, after the Plaintiff was terminated, a thirty year old technician, who had been with
the company less than a third as many years as the Plaintiff had been and who was less qualified than
him, was put into Plaintiffs former position.

XO. |
Another Quality Technician named Jeffery Salter, who was in his fifties like the Plaintiff,
was also let go during the RIF.
XIV.

Plaintiff avers that he was selected for termination during the Defendant’s RIF instead of
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younger, less qualified and less senior employees because of his age.
XV

Plaintiff avers that he was denied placement into another position during the RIF, like

younger, less qualified and less senior employees were, because of his age.
XVI.

Plaintiff avers that by selecting him rather than one of the younger, less qualified and less
senior employees for termination during the company’s RIF, the Defendant discriminated against
him on the basis of his age of fifty-two at the time in violation of the Tennessee Human Rights Act,
T.C.A, Sec. 4-21-101 et seq.

XVII.

Plaintiff avers that by denying him placement into another position during the RIF, like
younger, less qualified and less sernior employees were, the Defendant discriminated against him
on the basis of his age of fifty-two at the time in violation of the Tennessee Human Rights Act,
T.C.A. Sec. 4-21-101 et seq.

XVII.

As aresult of this discrimination, Plaintiff has suffered, and will continue to suffer, a major

loss of pay and benefits.
XIX,
As aresult of this discrimination, Plaintiff has also suffered mental distress, humiliation and

embarrassment, and loss of enjoyment of life.
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XX.

Plaintiff avers that he is entitled to recover all lost pay and benefits, with interest, plus
reinstatement to his former position with Defendant, or an award of front pay until he is reinstated
or until the date he obtains a position with another employer which is comparable to the pay and
benefits he would have received if he had continued working for Defendant.

XXI.

Plaintiff also avers he is entitled to recover compensatory damages for the mental distress,
humiliation and embarrassment, and loss of enjoyment of life caused by the discriminatory
termination, in order to make him whole for all losses suffered, as well as entitled to recover his
attorney’s fees and costs.

WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays as follows:

1. That the Court find that the Defendant discriminated against him because of his age in
violation of the Tennessee Human Rights Act, declare such practices of Defendant unlawful, and

enjoin the Defendant from any further age discrimination;

2. That this Court order the Defendant to reinstate the Plaintiff to his former position with
full seniority and benefits or, in lieu of reinstatement, award him front pay until the date of such
reinstatement or until the date he obtains a position with another company which is comparable to
the pay and benefits he would have received of he had continued working for Defendant.

3. That this Court award the Plaintiff all of the pay and benefits he has lost due to the

discriminatory termination, plus interest;

4. That the Court award Plaintiff FIVE HUNDRED THOUSAND DOLLARS
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($500,000.00) or such other amount as the jury deems reasonable for compensatory damages for the
mental distress, humiliation and embarrassment and loss of enjoyment of life he has suffered due to
the age discrimination by the Defendant;
5. That Plaintiff be awarded reasonable attorney's fees and expenses for this action; and
6. That plaintiffbe awarded such other and further relief as may be deemed just and proper.
Plaintiff demands a jury to try this case when the issues are joined.
Respectfully submitted,
NORWOOD & ATCHLEY

Dan M. Norwood (BPR No. 5926)

254 Court Avenue, Suite 212

Tel: (901) 528-8300

Email: dan@workingboomeradvocate.com

Counsel for Plaintiff

I hereby certify that this is a true copy
of original instrument filed in my office

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DONNA L. RUSSBLL, CLERK & MASTER

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IN THE CHANCERY COURT OF SHELBY COUNTY, TENNESSEE

 

 

 

 

 

FOR THE THIRTIETH JUDICIAL DISTRICT AT mE, =
SHELBY Souq
CHANCERY COURT
GERALD GREEN, APR 23 2019
Plaintiff, Mee tree USSELL © & iM
v. NO._ cf [4-054 4- |
SMITH & NEPHEW, INC.,
Defendant.

 

PLAINTIFF’S FIRST SET OF INTERROGATORIES

 

Plaintiff Gerald Green, by and through his undersigned attorney, pursuant to Rule 33 of the
Tennessee Rules of Civil: Procedure, propounds this First Set of Interrogatories to Defendant
requiring Defendant to answer under oath, within forty-five (45) days after service of the Complaint
herein.

DEFINITIONS AND INSTRUCTIONS

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Fa

A. The following interrogatories are continuous in character and therefore require Defendant to
file supplementary answers if Defendant obtains further information between the time his answers
are made and the time for trial.

B. Whether knowledge or information of Defendant is requested, such request includes the
request for knowledge and information of Defendant, its agents, and all other persons acting or
purporting to act on its behalf, including, unless privileged, its attorneys or other attorneys.

C. The word "person" as used herein means any natural person, firm, corporation, partnership,

joint venture, or any other form of business entity. A request for the name or identity of a person
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constitutes a request for such person’ s full name, present residential address, present business address,
and present business affiliation, ifknown, and ifnot know, such person's last known address, business
address, and business affiliation.

D. Where the identification of a document is requested, please state the location, date, author,
type of document (e.g., letter, memorandum, telegram, chart, computer printout, etc.) or some other
means of identifying it, its recipient, its present location and custodian, and if such document was,
but is no longer in the possession or control of Defendant, please state what disposition was made of
it and when.

E, As used herein, the words "document" or "documents" means any paper or other writing, and
each item of graphic or oral material, however recorded or reproduced, including drafts or other
preliminary material, in the possession, custody or control of Defendant, or of which Defendant has
knowledge, wherever located, whether an original or copy, including but not limited to memoranda,
notes, records, emails, tapes, disks or other records, photographs, drawings, data, reports, printed
matter and publications; and any copy containing thereon, or having attached thereto any
authorizations, notes, comments, or other material, shall be deemed a separate document from the
original and any other copy not containing such matter within the foregoing definition. Where an
interrogatory seeks the identification of documents, Plaintiff will accept Defendant's production of
such documents in lieu of such identification.

G. The word "identify" with respect to a person or persons means to state the name, address, and
telephone number of each person, to note the name of the present employer, place of employment and
job title, if any, of each such person, and if such person was affiliated at any time with any party to
this litigation, by employment or otherwise, to state the nature, including job title, if any, and dates

of such affiliation,
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H. As used herein, the singular shall be deemed to include the plural and vice versa; the
masculine shall be deemed to include the feminine and vice versa; the disjunctive ("or") shall be
deemed to include the conjunctive ("and") and vice versa; and each of the functional words, "each,"
“every,” "any" and “all” shall be deemed to include each of the other functional words.

I. Interrogatories which cannot be answered in full shal] be answered as completely as possible,
and incomplete answers shall specify the reasons for the incompleteness, as well as stating whatever
information or belief you possess with regard to each unanswered and partially answered
interrogatory.

Please be advised that Plaintiff will, at the time of trial, move the Court for an order excluding
from evidence all tangible and intangible things known to you at the time of your responses thereto
and not submitted.

INTERROGATORIES
Interrogatory No. 1: Please identify the person(s) answering these Interrogatories. For each such
person listed, please specify the questions they are responsible for or assisted in answering.
Interrogatory No.2: Please specify, in detail, the factual basis for Defendant's selection of Plaintiff
for termination rather than one of the other individuals holding the same position Plaintiff held in
April 2018 and identify any and all documents which set forth that basis.
Interrogatory No.3: Please identify and provide the age or date of birth ofeach and every individual
who was involved in the decision to select Plaintiff for termination in April 2018 rather than one of
the other individuals holding the same position Plaintiff held. For each such person listed, please
specify the role played in the decision.
InterrogatoryNo.4: Please identify and provide the age or date of birth ofeach and every individual

who was involved in the decision to deny Plaintiff placement into another position during the 2018
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RIF, which he requested, and to place another Quality Technician selected for termination during the
RIF into another position which prevented that employee’s termination. For each such person listed,
please specify the role played in the decision.

InterrogatoryNo.5: Please identify and provide the age or date of birth ofeach and every individual
who was involved in the decision to place the younger employee in the Quality Technician position
the Plaintiff held prior to his termination during the 2018 RIF. For each such person listed, please
specify the role played in the decision.

Interrogatory No. 6: Please identify by name, age or date of birth, every individual who has been
hired as a Quality Technician or placed into a Quality Technician position with Defendant between
April 2014 and the present and specify the dates each was hired or placed into the position.
Interrogatory No.. 7: Please identify each individual, other than those provided in Answer to
Interrogatories No. 1 through 6, which Defendant contends has knowledge of any fact relevant to the
allegations contained in the Complaint and/or Answer. For each such individual identified, please
specify what knowledge that individual has.

Interrogatory No. 8: Please state the factual basis of each and every affirmative defense, if any, that

is stated in Defendant's Answer.

Respectfully submitted,

NORWOOD & ATCHLEY

YY,

Dan M. Norwood (#05926)

254 Court Avenue, Suite 212

Memphis, TN 38103

Tel: (901)-528-8300

Email: dan@workingboomeradvocate.com

 
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CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that on this 3 F gals 19, a true

and exact copy of the foregoing has been served via U.S. Mail and/or electronic mail, postage prepaid.

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Dan Norwood

I hereby certify that this is a true copy
of original instrement filed in my office

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D.C. & M.

 
 
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IN THE CHANCERY COURT OF SHELBY COUNTY, TENNESSEE
FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS

  
  

 

 

 

 

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CHANGERY GOUnT
GERALD GREEN, APR 23 2019
Plaintiff, DONNA L. RUSSELL, C&M
TIME:_|97cq BY: f2
v. NO. US - 14- 0544-1
SMITH & NEPHEW, INC.,
Defendant.

 

PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

 

Plaintiff Gerald Green, by and through his undersigned attorney, pursuant to Rule 34
of the Tennessee Rules of Civil Procedure, propounds this First Request for Production of
Documents requiring Defendant to answer under oath, within forty-five (45) days after
service of the Complaint herein. As used herein, the words "document" or "documents" means
any paper or other writing, and each item of graphic or oral material, however recorded or
reproduced, including drafts or other preliminary material, in the possession, custody or control of
Defendant, or of which Defendant has knowledge, wherever located, whether an original or copy,
including but not limited to memoranda, notes, records, emails, tapes, disks or other records,
photographs, drawings, data, reports, printed matter and publications; and any copy containing
thereon, or having attached thereto any authorizations, notes, comments, or other material, shall be
deemed a separate document from the original and any other copy not containing such matter within

the foregoing definition. Where an interrogatory seeks the identification of documents, Plaintiff will
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accept Defendant's production of such documents in lieu of such identification.

REQUEST NO. 1: Please produce all policies, procedures, and other documents which relate in
any way to the process and criteria used for selecting which employees would be terminated and
which ones would be retained during the reduction in force that occurred in the Defendant’s
Memphis operation in 2018 and resulted in the termination of the Plaintiff.

REQUEST NO. 2: Please produce all charts or other documents scoring the performance of the
employees who were evaluated in comparison to the Plaintiff during the 2018 RIF and comparing
the scores of those employees.

REQUEST NO. 3: Please produce any and all documents, including all memos and emails, not
already produced in response to the above requests, which relate in any way to the decision to select
the Plaintiff for termination rather than some other employee during the 2018 RIF at the Defendant’s
Memphis operation.

REQUEST NO. 4: Please produce any and all documents, including all memos and emails, not
already produced in response to the above requests, which relate in any way to the decision to deny
the Plaintiff?s request to be placed into another position but at the same time to place another
younger Quality Technician, who had also been selected for termination during the RIF, into another
position, which prevented that employee from being terminated during the RIF.

REQUEST NO. 5: Please produce the personnel files of each and every employee whose
performance and qualifications were compared to the Plaintiff's performance and qualifications
during the 2018 RIF and which resulted in the selection of the Plaintiff for termination and their
retention; plus the personnel file of every employee who was identified in Defendant’s Answer to

Plaintiff's First Set of Interrogatories, Interrogatory No. 6,.
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Respectfully submitted,

NORWOOD & ATCHLEY

da Mp [areree/

Dan M. Norwood (#05926)

254 Court Avenue, Suite 212

Memphis, TN 38103

Tel: (901)-528-8300

Email: dan@workingboomeradvocate.com

CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that on this _=49“ day of le

2019, a true and exact copy of the foregoing has been served via U.S. Mail and/or electronic

mail, postage prepaid.
Dan Norwood

I hereby certify that this is a true copy
of original instrument filed in my office

This, Ga __day of Ma ____.» 20. he

DONNA L. RUSSELL, CLERK & MASTER

  
 

D.C. & M.

 
